Prob12A
(7/93)

                                      United States District Court
                                    for the District of Massachusetts
                                  Report on Offender Under Supervision

 Name of Offender: Edward Voccola                                                 Case Number: 02-10257
 Name of Sentencing Judicial Officer: The Honorable Robert E. Keeton, Senior U.S. District Judge
 Name of Assigned Judicial Officer: The Honorable Mark L. Wolf, Chief U.S. District Judge
 Date of Original Sentence: 5/19/04
 Date of Sentence on 1st Violation: 9/30/04
 Date of Sentence on 2nd Violation: 12/21/05
 Date of Sentence on 3rd Violation: 11/4/08
 Original Offense: Securities Fraud, in violation of 15 U.S.C. §§ 78j(b) and 78ff (counts 1-11), Falsely
 Representing a Social Security Number, in violation of 42 U.S.C. §408(a)(7) (counts 12-13), Mail Fraud, in
 violation of 18 U.S.C. §1341 (counts 14-17), and Wire Fraud, in violation of 18 U.S.C. §1343 (count 18)
 Original Sentence: 15 months’ custody, 5 years of supervised release
 1st Violation: Time served (1 day), 3 years of supervised release
 2nd Violation: Supervised Release extended to 48 months
 3rd Violation: 11 months’ custody, 4 years of supervised release
 Type of Supervision: Supervised Release                 Date Supervision Commenced: 12/14/01
                                                         Date Supervision Re-commenced: 9/30/04
                                                         Date Supervision Re-commenced: 12/21/05
                                                         Date Supervision Re-commenced: 10/9/09

                                    NON-COMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

 Violation Number      Nature of Noncompliance
          I            Violation of Mandatory Condition: While on supervised release, the defendant shall not
                       commit another federal, state or local crime and shall not illegally possess a controlled
                       substance.
                       According to Massachusetts State Police documentation, on March 21, 2010, a state
                       trooper observed a 2003 Mercedes-Benz E500 operating erratically on Route 3 in
                       Braintree, Massachusetts. The trooper conducted a motor vehicle stop. The driver of the
                       vehicle, Edward Voccola, could not produce a registration for the vehicle. Investigation
                       revealed that the car’s inspection sticker had expired in July 2009, that the car’s
                       registration had been revoked on February 7, 2009 due to an insurance cancellation, and
                       that Mr. Voccola’s license was expired/non-renewable as of February 25, 2010. The
                       trooper issued Mr. Voccola a criminal summons for Operating a Motor Vehicle with
                       Registration Revoked, Unlicensed Operation of a Motor Vehicle, Uninsured Motor
                       Vehicle, Marked Lanes Violation, and Motor Vehicle Not Meeting RMV Safety
                       Standards. The car was towed from the scene.
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              II          Violation of Standard Condition #11: The defendant shall notify the probation officer
                          within seventy-two hours of being arrested or questioned by a law enforcement officer.
                          As discussed above, Mr. Voccola was pulled over and issued a criminal summons for
                          motor vehicle violations by the Massachusetts State Police on March 21, 2010. Mr.
                          Voccola did not report this incident to the probation officer until the probation officer
                          asked about it on March 26, 2010.



U.S. Probation Officer Action: Upon learning of the incident, the Probation Officer interviewed the state
trooper in question and obtained a copy of the relevant police documentation. The Probation Officer then
instructed Mr. Voccola to report to the Probation Office on March 26, 2010. Mr. Voccola reported to the office
as instructed. When asked about the incident, Mr. Voccola related that he did not believe that he was driving
erratically. He said that he was unaware that his license had expired, but he knew that the car’s registration and
insurance had lapsed. Mr. Voccola reported that, due to some financial difficulties, he had been unable to
register and insure the car. Despite having had Special Condition #11 (“The defendant shall notify the
probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer”)
explained to him on multiple occasions in the past, Mr. Voccola stated that he was unaware that he was
supposed to report this incident to his probation officer within 72 hours. Mr. Voccola said that he had planned
to report the incident on his next Monthly Supervision Report.

The Probation Officer reviewed the relevant conditions with Mr. Voccola and offered him another copy of his
signed conditions for his records. Mr. Voccola has requested a hearing with the state court to address the
alleged motor vehicle violations. The Probation Office will monitor the state case, and advise the Court of any
significant developments. The Probation Office recommends that the Court take no formal action at this time,
pending the resolution of the matter in the state court. Based on the nature of that resolution, the Probation
Office may recommend sanctions at that time.

Reviewed/Approved by:                                                 Respectfully submitted,

 /s/ Joseph LaFratta                                          By      /s/ Brett L. Wingard
Joseph LaFratta                                                       Brett L. Wingard
Supervising U.S. Probation Officer                                    U.S. Probation Officer
                                                                      Date: March 30, 2010
[X ]        Approved
[ ]         Submit a Request for Modifying the Conditions or Term of Supervision
[ ]         Submit a Request for Warrant or Summons
[ ]         Other
                                                                      /s/ Mark L. Wolf
                                                                     _________________________________
                                                                     Signature of Judicial Officer
                                                                      July 12, 2010
                                                                     _________________________________
                                                                     Date
